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                            UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


     MATTHEW LAROSIERE,

                        Plaintiff,

     v.                                            Case No: 6:24-cv-1629-WWB-LHP

     CODY RUTLEDGE WILSON,
     DEFCAD, INC., DEFENSE
     DISTRIBUTED and DIOSKOUROI
     LLC,

                       Defendants
     /Third Party Plaintiff,

     MAF CORP., JOHN LETTMAN,
     MATTHEW LAROSIERE, PETER
     CELENTANO, THE GATALOG,
     JOSH KIEL STROKE, JOHN ELIK,
     THE GATALOG FOUNDATION,
     ALEXANDER HOLLADAY, MAF
     CORP., THE GATALOG,
     ALEXANDER HOLLADAY, JOHN
     LETTMAN, JOSH KIEL STROKE,
     PETER CELENTANO and JOHN
     ELIK,

                        Third Party
                        Plaintiffs.


                                           ORDER

           This cause came on for consideration without oral argument on the following

     motion filed herein:
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           MOTION: PLAINTIFF AND COUNTERDEFENDANTS
                   MATTHEW LAROSIERE, JOHN ELK, JOSH
                   STROKE, AND JOHN LETTMAN’S OPPOSED
                   EMERGENCY MOTION TO QUASH IMPROPER
                   SUBPOENAS, FOR A PROTECTIVE ORDER, TO
                   STAY DISCOVERY, AND FOR SANCTIONS (Doc.
                   No. 96)

           FILED:       May 11, 2025



           THEREON it is ORDERED that the motion is DENIED IN PART
           AND DEFERRED IN PART.

           In this kitchen sink emergency motion, Plaintiffs/Counterdefendants

     (hereinafter “Plaintiffs”) seek six different forms of relief: (1) quashing

     Defendants/Counterplaintiffs’ (hereinafter “Defendants”) allegedly improperly

     served and/or noticed “undisclosed subpoenas;” (2) compelling the return of any

     discovery already obtained in response to such subpoenas; (3) compelling

     disclosure of all such subpoenas and responsive materials; (4) a protective order; (5)

     a renewed request to stay discovery pending resolution of Plaintiffs’ motion to

     dismiss counterclaims; and (6) sanctions for Defendants’ alleged discovery

     misconduct. Doc. No. 96.

           Putting aside whether this motion truly constitutes an emergency, see Local

     Rule 3.01(e), the Court finds that the motion violates the Court’s Standing Order on

     Discovery Motions, see Doc. No. 61, ¶ 5, as well as improperly combines several


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     different forms of relief in one motion.      Thus, the Court strongly considered

     striking the motion in its entirety. However, in this one instance, and in the hopes

     of avoiding further unnecessary litigation, the Court has chosen instead to make the

     rulings stated herein.   Counsel is advised that any future filings that fail to

     comply with all applicable Local Rules, Federal Rules of Civil Procedure, and/or

     Court Orders will be summarily stricken or denied.

           Starting first with the renewed request to stay discovery. Doc. No. 96, at 13-

     14. That request is DENIED for the same reasons set forth in the Court’s March 6,

     2025 Order. See Doc. No. 83.

           Plaintiffs’ remaining requests are all interrelated and center on “undisclosed

     subpoenas” allegedly served by Defendants without proper notice to Plaintiffs.

     Doc. No. 96, at 1-13. Perhaps in the same boat with Plaintiffs, the Court is unable

     to grant relief when the precise relief is unknown.        In other words, the Court

     cannot quash “undisclosed subpoenas,” or direct recovery of information produced

     in response to same. Accordingly, within fourteen (14) days from the date of this

     Order, Defendants shall file a response to Plaintiffs’ motion which addresses all of

     the issues raised (other than the denied request to stay discovery) – to include

     identifying what, if any, subpoenas have been served without proper notice to

     Plaintiffs and the status of those subpoenas (i.e., have they been responded to, what

     deadlines remain pending, etc.). See Fed. R. Civ. P. 45(a)(4); Local Rule 3.04.

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           Because it is unfortunately clear to the Court that the parties are having issues

     engaging in cooperative and civil discovery, the Court also finds the following steps

     necessary. On or before Friday, May 30, 2025, the parties are directed to meet and

     confer either in-person or via Zoom or some other online platform (telephone or

     email will not suffice) to engage in a substantive discussion (and hopefully

     resolution) of the issues raised in Plaintiffs’ motion. The parties shall thereafter on

     Tuesday, June 3, 2025 file a joint notice with the Court identifying with specificity

     the issues that have been resolved and identifying with specificity the issues that

     remain outstanding for the Court to resolve.       An in-person hearing with lead

     counsel for all parties shall be held on Friday, June 13, 2025 at 10:00 a.m. before the

     Court on all remaining outstanding issues. Further details regarding the hearing

     will be provided via separate notice.

           DONE and ORDERED in Orlando, Florida on May 12, 2025.




     Copies furnished to:

     Counsel of Record




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